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12

13                            UNITED STATES DISTRICT COURT

14                         NORTHERN DISTRICT OF CALIFORNIA

15   IN RE: ROUNDUP PRODUCTS                      MDL No. 2741
     LIABILITY LITIGATION
16                                                Case No.: 3:16-md-02741-VC

17   Beckfield v. Monsanto Co.                    DEFENDANT MONSANTO
            Case No. 3:21-cv-05322-VC             COMPANY’S SUPPLEMENTAL BRIEF
18                                                IN SUPPORT OF ITS MOTION TO
                                                  EXCLUDE TESTIMONY OF DR. KEVIN
19                                                KNOPF

20                                                Hearing:
                                                  Date: September 6, 2024
21                                                Time: 1:00 p.m.
                                                  Place: San Francisco Courthouse,
22                                                       Courtroom 4 – 17th Floor

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       MONSANTO SUPPLEMENTAL BRIEF RE: MOTION TO EXCLUDE TESTIMONY OF KEVIN KNOPF
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 1             At the September 6, 2024 evidentiary hearing regarding Monsanto’s Motion to Exclude
 2   Dr. Kevin Knopf, this Court requested additional briefing on whether Dr. Knopf’s October 25,
 3   2022 deposition testimony shows he considered Mr. Beckfield’s atrazine, Lasso, and Dual
 4   exposures as potential risk factors for his non-Hodgkin’s lymphoma (“NHL”). Dr. Knopf’s
 5   testimony demonstrates he was unaware of Mr. Beckfield’s exposure to those pesticides until
 6   asked about them by Monsanto’s counsel and that he performed no analysis of Plaintiff’s risk
 7   of NHL from those pesticides. Even if those pesticides are not associated with NHL, that
 8   would make Dr. Knopf’s conclusions lucky, not reliable. Dr. Knopf’s methodology is
 9   therefore unreliable under Federal Rule of Evidence 702 and his testimony is inadmissible. As
10   Plaintiff’s only specific cause expert, Dr. Knopf’s exclusion should result in summary
11   judgment for Monsanto.
12   I.      Before Monsanto’s Counsel asked Dr. Knopf about Mr. Beckfield’s pesticide
             exposure, Dr. Knopf had not considered it as a potential risk-factor in his analysis.
13

14             In the first 135 pages of his deposition testimony, Dr. Knopf did not provide any

15   testimony showing he considered other pesticide exposure in his differential diagnosis.

16             One would expect Dr. Knopf to have raised it when discussing potential risk factors for

17   developing NHL, but he did not. Early in his deposition, Dr. Knopf was asked: “What are the

18   known causes of non-Hodgkin’s lymphoma in your opinion?” Ex. 7 Beckfield Dep. at 11:21–

19   22.1 He identified nine risk factors: Glyphosate or Roundup (id. at 11:25–12:2); viruses,

20   including hepatitis C, HIV, H. pylori, HTLV-III, Hep-B, and Epstein Barr Virus (id. at 12:2–

21   10, 13:6–13, 14:13–17, 39:21–23); immunosuppression (id. at 12:11–14); autoimmune

22   diseases (id. at 12:14–15); obesity (id. at 12:16–18); smoking (id.); age (id. at 12:19–20);

23   gender (id. at 12:11–14); and family history (Id. at 12:21–24). Dr. Knopf’s report also listed

24   “Gender,” “Race and Ethnicity,” “Radiation Exposure,” and “Breast Cancer” as risk-factors

25   associated with NHL. ECF17600-3 Ex. B Beckfield Rpt. at 8. Neither his report nor his

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28       Exhibits 7 & 8 are attached to the concurrently filed declaration of Linda C. Hsu.
                                                       1
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 1   discussion of risk factors during his deposition included any mention of atrazine, Lasso, Dual,
 2   or pesticides other than Roundup.
 3          Later in his deposition, Dr. Knopf was asked specifically about Mr. Beckfield’s risk-
 4   factors, answering: “I don’t think I saw any other substantial causative factor here.” Ex. 7
 5   Beckfield Dep. at 119:15–16. He then discussed immunosuppression (id. at 119:18, 131:19–
 6   133:10), viruses (id. at 119:18–19, 134:2–135:15), age (id. at 119:19–21, 123:15–125:17),
 7   family history (125:17–130:12), and smoking (id. at 135:16–136:1). Dr. Knopf only
 8   mentioned pesticides during this discussion as an alternate explanation for why family history
 9   might be strongly linked to NHL. Id. at 126:6–11.
10          Outside his discussion of risk-factors, Dr. Knopf mentioned he knew pesticides,
11   generally, were linked to NHL, but said nothing specific to this case:
12                   …when I was a fellow at the National Cancer Institute, I had
                     read some epidemiology and there was link between farming and
13                   pesticides and particularly a higher instance in Nebraska and
                     Twins, so at that point I had concern or some opinion that
14                   pesticides might be in the causal pathway for lymphoma.
                     Id. at 65:12–18.
15
                     …prior to the Weisenburger article coming out [in 2021] I had a
16                   sense of a general link between pesticides, but not per se
                     Roundup.
17                   Id. at 66:15–17.
18   See also id. at 16:23–17:1 (he has sometimes asked farmer-patients about their pesticide use
19   and “said there’s an association with pesticides in lymphoma.”); id. at 26:15–25 (his “old
20   DeVita textbook…may say pesticides in general…”); id. at 30:16–21 (he has told his students
21   “‘There’s an epidemiologic link between pesticides dating back to, you know, the 1970s and
22   1980s and also Roundup. Have you guys seen anything in the newspapers about Roundup,’ to
23   just try and get them aware that there’s things out there they should be paying attention to.”);
24   id. at 107:9–15 (he is not an “expert on labeling for chemicals or for pesticides.”); id. at 113:1–
25   25 (he thinks the Agricultural Health Survey’s controlling for other pesticide use may have
26   biased the association between glyphosate and NHL “towards the null.”).
27          Although Dr. Knopf’s testimony shows he was aware of a link between pesticide
28   exposure and NHL, none of his statements suggest he considered other pesticides as a
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 1   potential cause of Mr. Beckfield’s NHL when forming his opinions or at any time before being
 2   asked specifically about Mr. Beckfield’s use of atrazine, Lasso herbicide, or Dual herbicide.
 3   II.   When Monsanto’s counsel asked Dr. Knopf about Mr. Beckfield’s exposure to
           other pesticides, Dr. Knopf’s responses showed he had not considered or analyzed
 4         that potential risk-factor before.
 5          After 135 pages of testimony, Dr. Knopf was presented with a page from Mr.

 6   Beckfield’s medical record that stated “Grew up on farm exposure and exposed to pesticides.”

 7   Id. at 136:2–18. He accepted counsel’s question that assumed Mr. Beckfield used atrazine a

 8   couple times a year for eleven years. Id. at 136:19–137:1. Dr. Knopf admitted he was

 9   unfamiliar with atrazine: “I don’t know the data on atrazine as well as Roundup because I’ve

10   not really reviewed it. It might also be a contributing factor in his development of

11   lymphoma.” Id. at 137:4–7. He was unable to rule out atrazine and then testified that he did

12   not notice that Mr. Beckfield was exposed to pesticides: “I don’t think I saw that – that

13   document or I didn’t notice it closely enough that he was exposed to pesticides.” Id. at

14   137:17–19 (emphasis added). And he admitted he had not ruled out atrazine in his report. Id.

15   at 138:2–5 (Q…you didn’t rule out atrazine as a contributing factor to Mr. Beckfield’s non-

16   Hodgkin’s lymphoma. A. In that report, no.”).

17          Dr. Knopf appeared equally baffled when he learned Mr. Beckfield used Lasso

18   herbicide for a dozen years, responding “Lass – what’s it called? Lasso?” id. at 138:19, and “I

19   didn’t note it in my report, but…,” id. at 138:21. Dr. Knopf then asked: “how many times a

20   year was he exposed to it?” Id. at 139:1. When he learned it was once a year, he opined: “I

21   think there’s a difference between 525 days [of alleged Roundup use] and 12 days.” Id. at

22   139:17–18. Finally, he stated: “I can’t rule [Lasso] out as a contributing factor, but it doesn’t

23   change my opinion that Roundup was a substantial contributing factor.” Id. at 139:21–23.

24          When asked about Mr. Beckfield’s use of Dual herbicide, Dr. Knopf again asked the

25   deposing counsel for information: “For how many years?” and “So that would be at most six

26   days?” Id. at 140:6, 8. He attempted to distinguish Dual on the spot: “I don’t think I wrote it

27   in my report, but if you bring it up now, I’m going to say, well, 525 compared to six is, what, a

28   hundred fold? Ninety fold?” Id. at 140:13–16. But Monsanto’s counsel confirmed Dr. Knopf
                                                     3
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 1   “didn’t purport to do any sort of comparative exposure analysis between Roundup and the
 2   other herbicides or pesticides,” to which Dr. Knopf admitted: “I did not do that in my report,
 3   no.” Id. at 140:17–22.
 4          Nor did Dr. Knopf testify that his methodology included any meaningful analysis of
 5   these other pesticides to explain why, how, or even if these off-the-cuff exposure comparisons
 6   matter when it comes to NHL. Instead, Dr. Knopf testified he would need to do more research
 7   to rule them out as contributing factors:
 8                 Q And you don’t purport to rule out, let’s say, atrazine, Lasso
                   herbicide, and Dual herbicide together or separately as contributing
 9                 factors to Mr. Beckfield’s non-Hodgkin’s lymphoma; do you?
                   A You know, I’m going to have to go back and review his
10                 exposure somewhat, review the report of the toxicologist expert,
11                 get his counsel, and then speak to counsel and say, “What do you
                   think about this evidence here?” But I don’t think it changes my
12                 basic opinion. I mean I think there’s a dose response to herbicides
                   as well as other things in oncology, and the total dose seems a lot
13                 lower to me than what I know about his total dose to Roundup.
14                 Q Right. But they could be contributing; correct?
                   A They could be contributing. I’m not sure how substantial they’re
15                 contributing.
16   Id. at 140:23–141:15. See also Ex. 8 Hrg. Tr. at 59:3–13 (Dr. Knopf confirming at the hearing

17   that he did not to this additional research before his deposition).

18          This testimony is not consistent with the explanation Dr. Knopf gave at Friday’s

19   hearing, where he claimed: “I knew [Mr. Beckfield] used these three other pesticides, but I had

20   calculated that his use was much less, maybe 1 percent, and that’s why I didn’t include it in

21   my report. Id. at 32:20–22. See also id. at 30:16–31:7 (testifying he did not recall if he saw

22   atrazine exposure data before his deposition; contrary to deposition testimony “I’ve not really

23   reviewed it.”); id. at 33:1–33:16 (“I did do [an exposure analysis], and I didn’t think it was

24   enough to put in my report.”); id. at 34:16–18 (“I looked at how many days and how many

25   times he used those three potential carcinogens, and I did not include it in my written report

26   because I thought it was a very small amount.”). Dr. Knopf’s deposition testimony shows he

27   was not familiar with the three pesticides or Mr. Beckfield’s exposure to them. Indeed, Dr.

28   Knopf admitted at the hearing that “I didn’t have data on how much pesticides he was exposed
                                                      4
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 1   to growing up on a farm.” Ex. 8 Hrg. Tr. at 29:5–14. His oversight cannot be saved by after-
 2   the-fact justifications.
 3   III.   Plaintiff’s attempts to rehabilitate Dr. Knopf’s failure to consider other pesticides
            fail to demonstrate Dr. Knopf used a reliable methodology.
 4

 5           Plaintiff raised two additional points at the hearing to justify Dr. Knopf’s omission of

 6   other pesticides in his report and lack of awareness of Mr. Beckfield’s exposure at deposition.

 7           First, Plaintiff argues there is no evidence that atrazine, Lasso, or Dual are associated

 8   with NHL. Ex. 8 Hrg. Tr. at 91:22–23. Dr. Knopf, however, testified at multiple points that

 9   he was aware of a link between pesticides, generally, and NHL. Ex. 7 Beckfield Dep. at

10   65:12–18, 66:15–17, 16:23–17:1, 26:15–25, 30:16–21; see also Ex. 8 Hrg. Tr. at 28:5–29:4.

11   Nothing indicates he considered these three pesticides to be exceptions. If those pesticides are

12   not linked to NHL, Dr. Knopf’s methodology would still be unreliable because, as this Court

13   pointed out, “[b]eing lucky is not a method that passes Daubert.” Ex. 8 Hrg. Tr. at 93:4.

14           Second, Plaintiff argues that, even if Dr. Knopf failed to consider other pesticides as a

15   potential risk-factor, he should still be able to opine that Mr. Beckfield had sufficient Roundup

16   exposure—relying on general cause experts—to make it a substantial causative factor. Ex. 8

17   Hrg. Tr. at 78:13–22. Plaintiff’s suggestion appears to be that specific causation experts’

18   opinions should be admissible if they can rule in the accused product as a cause, regardless

19   whether they rule in or rule out other potential causes—jettisoning more than half of an

20   admissible differential diagnosis. As the Court explained, this is a two-step process: “You

21   have to figure out what can be ruled in from this person’s record, like what is a possible cause,

22   and then you go through the ruling-out process.” Ex. 8 Hrg. Tr. at 90:12–15. Monsanto is not

23   aware of any court that has permitted a specific causation expert to testify simply that they

24   ruled in an accused product. Nor should such testimony be permitted as it bears no

25   resemblance to any approach used by experts in the field of cancer research or etiology.

26           Dr. Knopf’s failure to consider other pesticides renders his opinions unreliable and his

27   testimony should be excluded entirely. As no specific cause expert remains, this Court should

28   grant summary judgment for Monsanto and dismiss this action.

                                                      5
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 1   Dated: September 10, 2024          Respectfully submitted,
 2                                      BRYAN CAVE LEIGHTON PAISNER LLP
 3
                                        /s/ Linda C. Hsu
 4                                      Linda C. Hsu
                                        Attorneys for Defendant Monsanto Company
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 1                                 CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on September 10, 2024, a copy of the foregoing was filed
     with the Clerk of the Court through the CM/ECF system, which sent notice of the filing to all
 3   appearing parties of record.
 4
                                               /s/ Linda C. Hsu
 5                                             Linda C. Hsu

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       MONSANTO SUPPLEMENTAL BRIEF RE: MOTION TO EXCLUDE TESTIMONY OF KEVIN KNOPF
